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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                             for the
                                                    DistrictDistrict
                                               __________    of Columbia
                                                                     of __________


                 Black Lives Matter, et al.,                    )
                             Plaintiff                          )
                                v.                              )      Case No. 1:20-cv-01469-DLF
                         Trump, et al.,                         )
                            Defendant                           )

                                                APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Amicus Curiae Reporters Committee for Freedom of the Press                                                    .


Date:          12/21/2020                                                               /s/ Katie Townsend
                                                                                         Attorney’s signature


                                                                              Katie Townsend, D.C. Bar No. 1026115
                                                                                     Printed name and bar number
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